






				NO. 07-05-0283-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D 



FEBRUARY 2, 2007


_______________________________


CHARLES EMMANUEL BOSLER, AS SURVIVING PARENT OF COURTNEY

NICOLE HILDA BOSLER AND CHARLES EMMANUEL BOSLER,

 AS GUARDIAN OF COLTON ETHAN C. BOSLER, APPELLANT


V.


TRAVIS RIDDLE AND THE CITY OF LUBBOCK, APPELLEE


_________________________________


FROM THE 237TH DISTRICT COURT OF LUBBOCK COUNTY;


NO. 2003-522,646 ; HONORABLE SAM MEDINA, JUDGE


_______________________________


Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


MEMORANDUM OPINION



	Appellant, Charles Emmanuel Bosler, as surviving parent of Courtney Nicole Hilda
Bosler and as guardian of Colton Ethan C. Bosler (Bosler), appeals from a summary
judgment entered in favor of Appellees, The City of Lubbock (City), and one of its
employees, Officer Travis Riddle (Riddle), based upon a failure to comply with the notice
provisions of the Texas Tort Claims Act (TCCA). (1)  Finding error, we reverse and remand
for further proceedings.

Facts

	On December 7, 2002, a police cruiser being driven by Riddle collided with a motor
vehicle being driven by Theresa Cameron, as she attempted to make a left-hand turn in
front of Riddle.  Cameron's children, Courtney and Colton, were in the vehicle with her at
the time of the collision.  Courtney and Colton both sustained injuries in the accident;
however, Courtney did not survive.  Four days later, Kevin Glasheen, a Lubbock personal
injury attorney, sent a letter to the Lubbock City Police Department indicating that he had
been retained to represent Cameron and her minor children "regarding injuries to Ms.
Cameron and Colton and the death of Courtney as a result of the . . . referenced
automobile accident."  The letter indicated the accident involved a police cruiser and it
identified the date of accident as December 7, 2002.  Theresa Cameron never filed suit;
however, the children's biological father, Charles Emmanuel Bosler, brought suit on July 
2, 2003, seeking recovery of damages for the wrongful death and survivorship claims of
Courtney and the personal injury claims of Colton.  Eight months later, both the City and
Riddle sought summary judgment claiming that Bosler did not give notice of his claims
within six months of the incident giving rise to the claims as required by § 101.101(a) of the
TTCA.  The trial court agreed and granted summary judgment in favor of both the City and
Riddle.

Bosler's Contentions

	Bosler contends the trial court erred in granting summary judgment because the
Glasheen letter of December 11 constituted formal written notice in compliance with
§101.101(a).  Alternatively, he contends the City had actual notice of the claims sufficient
to avoid summary judgment as per §101.101(c).  Finally, Bosler claims the trial court erred
in granting summary judgment because it denied his motion to compel discovery, which,
if allowed, would have established a fact issue with regard to actual notice.

The City of Lubbock and Officer Riddle's Contentions

	The City and Riddle contend that summary judgment was proper because Bosler
failed to give notice of "any claim that he might have, on his own behalf or on behalf of his
son . . . ."  The City and Riddle assert they were entitled to summary judgment because the
affirmative defense of lack of notice was established as a matter of law. Standard of Review

	In reviewing a summary judgment, this Court must apply well-established standards
which are: (1) the movant for summary judgment has the burden of showing that there is
no genuine issue of material fact and that it is entitled to judgment as a matter of law; (2) 
in deciding whether there is a disputed material fact issue precluding summary judgment,
evidence favorable to the non-movant will be taken as true; and (3) every reasonable
inference must be indulged in favor of the non-movant and any doubts resolved in its favor. 
Am. Tobacco Co. v. Grinnell, 951 S.W.2d 420, 425 (Tex. 1997); Nixon v. Mr. Prop. Mgmt.
Co.,  690 S.W.2d 546, 548-49 (Tex. 1985).  For a party to prevail on a motion for summary
judgment, he must conclusively establish the absence of any genuine question of material
fact and that he is entitled to judgment as a matter of law.  Tex. R. Civ. P. 166a(c).  A
movant must either prove all essential elements of his claim, MMP, Ltd. v. Jones, 710
S.W.2d 59 (Tex. 1986), or negate at least one essential element of the non-movant's
cause of action.  Randall's Food Mkts, Inc. v. Johnson, 891 S.W.2d 640, 644 (Tex. 1995). 
Once the movant has established a right to summary judgment, the non-movant has the
burden to respond to the motion for summary judgment and present to the trial court any
issues that would preclude summary judgment.  City of Houston v. Clear Creek Basin
Auth., 589 S.W.2d  671, 678 (Tex. 1979); Barbouti v. Hearst Corp., 927 S.W.2d 37, 64
(Tex.App.-Houston [1st Dist.] 1996, writ denied).  Issues that the non-movant contends
preclude the granting of a summary judgment must be expressly presented to the trial court
by written answer or other written response to the motion and not by mere reference to
summary judgment evidence.   McConnell v. Southside Indep. Sch. Dist., 858 S.W.2d 337,
341 (Tex. 1993).  Issues not expressly presented to the trial court in writing shall not be
considered on appeal as grounds for reversal.  Tex. R. Civ. P. 166a(c). 

Right to Notice


	At the outset, we distinguish the City's contentions that they are entitled to notice 
from Riddle's contentions that he is entitled to notice.  The notice requirements of
§101.101(a) apply only to governmental units and do not apply to claims against an
employee based upon individual liability.  Bozeman v. Trevino, 804 S.W.2d 341, 342
(Tex.App.-San Antonio 1991, no writ).  Because Bosler contends that Riddle was
individually liable for his negligence, those claims would not be barred by failing to provide
notice pursuant to § 101.101(a), and the trial court erred in so finding.

Formal Written Notice 


	Next we must consider whether the City received adequate statutory notice as
required by  § 101.101(a).  The TTCA requires a claimant to provide a governmental unit
with formal, written notice of a claim against it within six months of the incident giving rise
to the claim.  Such notice must reasonably describe (1) the damage or injury claimed; (2)
the time and place of the incident; and (3) the incident.

	The record shows that four days after the accident giving rise to the underlying 
litigation, a local personal injury attorney informed the City, in writing, that he represented 
the driver of the vehicle and her minor children "regarding injuries to Ms. Cameron and
Colton and the death of Courtney as a result of the . . . referenced automobile accident." 
The letter indicated that the accident involved a police cruiser and it identified the date of
accident as December 7, 2002.   The City argues that this notice is insufficient to apprize
it of its fault in causing the alleged injuries.   The City further argues that notice is
insufficient as to the survivorship and personal injury claims of Courtney and Colton
because those claims are being brought on behalf of the minor children by their father,
Bosler, as opposed to being brought by their mother, Theresa  Cameron.  Still further, the
City argues that said notice is insufficient as to the wrongful death claims of Bosler
because the notice clearly does not mention him.  

	The purpose of the notice requirement is to ensure prompt reporting of claims in
order to enable governmental units to gather information necessary to guard against
unfounded claims, settle claims, and prepare for trial.  City of Houston v. Torres, 621
S.W.2d 588, 591 (Tex. 1981).  Formal written notice does not require the claimant specify
the capacity in which a claim may be made; therefore, it is irrelevant whether the notice
originated from the mother or the father.  The Glasheen letter of December 11 reasonably
described (1) the damage or injury claimed ("injuries to . . . Colton and the death of
Courtney), (2) the time and place of the incident ("the above referenced automobile
accident",  "D/accident: December 7, 2002", and "cruiser involved in this accident" -
referring to accident with Theresa Cameron), and (3) the incident ("the above referenced
automobile accident").  The letter provided the City with information sufficient to meet the
purpose of the notice provision as it pertained to the survivorship and personal injury
claims of Courtney and Colton.  As to the wrongful death claims, the City received sufficient
information to put it on notice that a wrongful death claim might be asserted.  For purposes
of the notice provisions of § 101.101(a), it is immaterial whether Cameron or Bosler
ultimately asserted those claims.  Because the City received formal written notice, the trial
court erred in granting summary judgment pursuant to § 101.101(a) as to the City.

	Bosler further argues that, even assuming arguendo that the Glasheen letter did not
constitute formal written notice, the City did have actual notice sufficient for purposes of
§ 101.101(c).Actual Notice

	The formal notice requirements of § 101.101(a) do not apply if the governmental unit
has actual notice that death has occurred or that the claimant has received some injury. 
§ 101.101(c).  Actual notice to a governmental unit requires knowledge of (1) death, injury,
or property damage; (2) the governmental units's alleged fault producing or contributing to
the death, injury, or property damage; and (3) the identity of the parties involved.  Cathey
v. Booth, 900 S.W.2d 339, 340 (Tex. 1995).  Actual notice under this provision of the TTCA
requires that the governmental unit have the knowledge or information that it would have
had under the Act's notice provision and a subjective awareness that its alleged or possible
fault could have produced or contributed to the death or claimed injury.  Tex. Dep't of
Criminal Justice v. Simons, 140 S.W.3d 338 (Tex. 2004).  Mere investigation of an incident
does not provide a governmental unit with the requisite knowledge; however, absolute
certainty is not required.  See id. at 339.  

	The City had actual notice that a police cruiser was involved in a motor vehicle
accident, involving a fatality, that occurred on December 7, 2002.  Bosler's response to the
City's motion for summary judgment further establishes that officers investigating the
accident were told by an eye-witness, Nakeesha Turner, that immediately prior to the
accident the officer was speeding and "appeared to be traveling at 60 to 65 mph" in a 45
mph zone.  Regardless of whether this information was subjectively believed to be true, it
can reasonably be assumed that such information, if pursued, would reveal the City's
alleged or possible fault producing or contributing to the injury.  The fact that the City
conducted an extensive investigation, which they believe exonerated Riddle of any
wrongdoing, is evidence itself that the City was on notice of its possible fault.  The
investigation in the underlying case is distinguishable from the investigation in Simons.  In
the Simons case the investigation gave no indication that the governmental unit was at
fault; whereas, the investigation in this case revealed disputed allegations of fault.  The City
cannot simply ignore those facts indicating possible culpability for purposes of claiming lack
of notice pursuant to § 101.101(c).  Actual notice is a fact question precluding summary
judgment, whenever the evidence is disputed.  Simons, 140 S.W.3d at 348.

	Because the City was aware of the death of Courtney and the injuries to Colton,
they had actual notice of (1) the death or injuries, and (2) the identity of the parties
involved.  Furthermore, because the City was aware of the governmental unit's alleged or
possible fault producing or contributing to the death or injury, they had actual notice for
purposes of § 101.101(c).  See Cathey, 900 S.W.2d at 340.

Conclusion


	We hold that Officer Riddle was not entitled to notice pursuant to § 101.101(a).  We
further hold that the City of Lubbock received formal written notice of Bosler's claims
pursuant to § 101.101(a), and imputed actual notice pursuant to § 101.101(c).  The trial
court erred by granting both the City and Riddle's Motion for Summary Judgment based
upon a lack of notice.  Accordingly, the trial court's judgment is reversed and this cause is
remanded for further proceedings.


							Patrick A. Pirtle

							      Justice
1. Tex. Civ. Prac. &amp; Rem. Code Ann.  §§ 101.001-.109 (Vernon Supp. 2006).  All
section references herein are references to the Texas Tort Claims Act.



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NO. 07-10-00317-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



SEPTEMBER
14, 2010

&nbsp;



&nbsp;

IN RE GREGORY BANISTER, RELATOR



&nbsp;



&nbsp;

&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Relator Gregory Dean Banister has filed a
petition for a writ of mandamus.&nbsp; He
seeks an order compelling respondent, the Honorable Felix Klein, to rule on
seventeen motions Banister asserts are pending in his habeas corpus proceeding.


In response to our request, Judge
Klein has filed a detailed response to Banisters petition.&nbsp; By it, he identifies each of Banisters
motions and the corresponding ruling of the court.[1]&nbsp; Accordingly, we do not reach the merits of
Banisters issue, and the petition for writ of mandamus is dismissed as moot. See In re Duncan, 62 S.W.3d 333, 334 (Tex.App.--Houston [1st Dist.] 2001, orig. proceeding) (also
dismissing mandamus petition as moot after trial court ruling).

&nbsp;

&nbsp;

Per Curiam

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 








&nbsp;











[1] The response does not, however, indicate whether the
courts rulings were memorialized in an order or orders filed with the district
clerk.&nbsp; From his response, we presume
that Judge Klein has, or promptly will, sign and file an order or orders
expressing the trial courts rulings and provide a copy to relator.

&nbsp;







